Case 4:23-cv-00033-JHM   Document 1   Filed 03/06/23   Page 1 of 8 PageID #: 1




                                                          4:23-CV-33-JHM
Case 4:23-cv-00033-JHM   Document 1   Filed 03/06/23   Page 2 of 8 PageID #: 2
Case 4:23-cv-00033-JHM   Document 1   Filed 03/06/23   Page 3 of 8 PageID #: 3
Case 4:23-cv-00033-JHM   Document 1   Filed 03/06/23   Page 4 of 8 PageID #: 4
Case 4:23-cv-00033-JHM   Document 1   Filed 03/06/23   Page 5 of 8 PageID #: 5
Case 4:23-cv-00033-JHM   Document 1   Filed 03/06/23   Page 6 of 8 PageID #: 6
Case 4:23-cv-00033-JHM   Document 1   Filed 03/06/23   Page 7 of 8 PageID #: 7
Case 4:23-cv-00033-JHM   Document 1   Filed 03/06/23   Page 8 of 8 PageID #: 8
